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                 IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA
                                AT ANCHORAGE
______________________________________
Adam LaPointe, Plaintiff                ]  Case No. 3:19-CV-00100                  ( TMB )
                                        ]
v.                                      ]
                                        ]
                                        ]
Red Door Charters, LLC; Kachemak Corp.; ]
and Robert K. Bornt; Defendants         ]
_____________________________________

                Adam LaPointe’s Original Complaint - Jury Requested

       Adam LaPointe, Plaintiff, files this original complaint against Red Door Charters, LLC,

Robert Bornt, and Kachemak Corporation.

1. Parties

       1.1    Adam LaPointe is a resident of New Ipswich, New Hampshire.

       1.2    Red Door Charters, LLC, is a limited liability company with its office and

principal place of business and can be served at 3684 Main St., Homer, AK 99603.

       1.3    Robert Bornt is the owner and registered agent of Red Door Charters, LLC,

and lists his physical address and can be served at 3684 Main St., Homer, AK 99603.




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       1.4    Kachemak Corporation is a corporation operating in Alaska and is the

registered owner of the vessel “TUFF STUFF” (call sign WYJ4732; Official Number 588114;

Hull Number BERJ0797M77I). Kachemak can be served through their agent Registered

Agents, Inc. at 125 N. Willow St. Ste. B, Kenai, AK 99611.

2. Jurisdiction and Venue

       2.1    This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1333 which grants concurrent jurisdiction to federal courts over Jones Act Claims and the

amount in controversy exceeds $75,000.

       2.2    Personal jurisdiction is proper in this Court because the actions and inactions

of Defendants occurred in the District of Alaska.

       2.3    Venue is proper in this Court because the actions and inactions of Defendants

occurred in the District of Alaska.

3. Background

       3.1    Mr. LaPointe sustained injuries on June 10, 2018, while working for Defendant

Red Door as a member of the crew of the vessel TUFF STUFF. On the day of the incident,

Mr. LaPointe was one of eight people on board. Mr. LaPointe was pulling up an anchor when

the tensioned anchor line broke and hit Mr. LaPointe on his right leg. The anchor line severely

injured Mr. LaPointe’s shin, ankle, and foot. After being rushed to the hospital Mr. LaPointe

had stitches put in his leg and underwent surgery the next week. Mr. LaPointe sustained severe

injuries due to negligence of Defendants and the unseaworthy nature of the vessel.

4. Count One - Jones Act




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       4.1    Defendant Red Door is Mr. LaPointe’s Jones Act employer and Mr. Lapointe

was as an able-bodied seaman working on the vessel at the time of the injury. As such, Mr.

LaPointe is protected from the negligence of Red Door by the Jones Act. Mr. LaPointe’s

injuries were a direct result of the negligence of Red Door and Mr. Bornt who failed at each

instance to observe fundamental health and safety concerns, including, but not limited to,

failures in the provision and implementation of regular safety policies; failure in its vessel

crewing operations; failures in job planning and hazard assessment; failures in the provision

of safe equipment; failing to provide a safe and seaworthy vessel, and failures in its hiring,

training, and supervision of the crew and captain, including Mr. LaPointe.

       4.2    The negligence of Red Door and Mr. Bornt was a proximate cause of the

occurrence in question. These Defendants breached their legal duties and caused damages and

injuries to Mr. LaPointe. Before being injured, Mr. LaPointe was an able-bodied seaman. Mr.

LaPointe did nothing to cause or contribute to his injuries.

       4.3    Red Door controlled the vessel in operation on the date of the incident and at

all material times. Red Door also controlled the details of the work being performed on the

vessel and elsewhere by the vessel’s crew and had knowledge of the incompetence of the

captain who improperly operated the vessel. Red Door had the right to control and supervise

the details of the procedures, equipment, devices, instructions, methods, and manner of work

at all times material. Red Door did not use ordinary care when supervising and controlling the

work, and the failure to use ordinary care was negligent and a proximate cause of the incident

and Mr. LaPointe’s injuries.




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       4.4    Defendants were also grossly negligent and acted with malice, as that term is

understood under maritime law, and such conduct was a proximate cause of Mr. LaPointe’s

injuries. Defendant’s reckless and grossly negligent conduct justifies the imposition of punitive

and exemplary damages both as punishment to Defendants for their callous disregard and as

a deterrent to others from engaging in similar conduct. Mr. LaPointe asks for punitive and

exemplary damages in addition to actual damages.

5. Count Two - Unseaworthiness

       5.1    Kachemak Corp. is the registered owner of the vessel. Under general maritime

law the owner of a vessel has a duty to provide a seaworthy vessel. In this case Kachemak

Corp., Red Door, and Mr. Bornt failed to provide a seaworthy vessel which was a proximate

cause of injuries to Mr. LaPointe.

6. Count Three - Maintenance and Cure

       6.1    Mr. LaPointe is a Jones Act seaman and is entitled to recover maintenance and

cure while he is recovering from his injuries until he reaches maximum medical improvement.

Mr. LaPointe, therefore, includes in this lawsuit his legal claims for maintenance and cure,

both past and future. Defendants failed to properly pay maintenance and cure. As a result of

Defendants’ failure to provide adequate cure, Mr. LaPointe suffered additional damages and,

therefore, is entitled to reasonable and necessary attorney fees and costs.

       6.2    Further, under the authority of the U.S. Supreme Court’s decision in Atlantic

Sounding v. Townsend, 557 U.S. 404 (2009), Defendants’ failure to pay maintenance and cure

justifies punitive and exemplary damages.

7. Count Four - Respondeat Superior


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       7.1     Defendants Red Door and Mr. Bornt are legally responsible to Mr. LaPointe

for the negligent conduct of their employees under the legal doctrines of respondeat superior,

agency and/or ostensible agency because Defendants’ employees, were at all times material

hereto an agent, ostensible agent, servant and/or employee of said Defendant, and were acting

within the course and scope of such agency or employment. As a result thereof, Defendants

are liable for all negligence of their employees.

8. Legal Damages

       8.1     As a result of the incident, Mr. LaPointe sustained pain, loss of enjoyment of

life and mental anguish and will likely sustain pain, loss of enjoyment of life and mental anguish

in the future. Mr. LaPointe also suffered physical impairment and will likely be physically

impaired in the future. Mr. LaPointe has received medical treatment and has past medical

expenses. Mr. LaPointe will need continued medical treatment in the future. Defendants are

financially responsible for Mr. LaPointe’s medical treatment. The medical treatment has been

reasonable and necessary both in terms of the procedures and treatments themselves and the

costs associated with these treatments. Mr. LaPointe has also suffered lost earnings and

earning capacity past and future.

9. Punitive Damages

       9.1     Because Defendants failed to properly provide maintenance and cure, Mr.

LaPointe brings a cause of action for punitive damages for gross and reckless decisions, acts,

and/or omissions. Additionally, Defendants have been grossly negligent and punitive damages

should be assessed for their gross negligence.

10. Pre- and Post Judgment Interest


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        10.1    Mr. LaPointe is entitled to pre-judgment interest in accordance with law and

equity as part of his damages, along with post judgment interest to the extent allowed by law.

11. Jury Demand & Request for Disclosure

        11.1    Mr. LaPointe demands a trial by jury. Further, Defendants are requested to

answer disclosures pursuant to Rule 26 of the Federal Rules of Civil procedure.

12. Prayer

        12.1    Mr. LaPointe prays Defendants be cited to appear and answer, he recovers his

damages in accordance with the evidence, he recovers costs of Court herein, he recovers

attorney fees and interest, both pre and post-judgment, to which he is entitled under law, and

for any other relief, general and special, legal and equitable, to which he may show himself

legally entitled.

                                           Respectfully submitted,




                                           ___________________________
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